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                              EXHIBIT GG


                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
                     & Motion for Class Certification
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                                No. 16-10521


           UNITED STATES COURT OF APPEALS
              FOR THE ELEVENTH CIRCUIT


      MAURICE WALKER, on behalf of himself and others similarly situated,
                                              Plaintiff-Appellee,
                                    v.

                            CITY OF CALHOUN, GA,
                                              Defendant-Appellant.


            On Appeal from the United States District Court for the
                        Northern District of Georgia
                         No. 4:15-cv-00170-HLM


  BRIEF FOR AMERICAN BAR ASSOCIATION AS AMICUS CURIAE
         IN SUPPORT OF APPELLEES AND AFFIRMANCE




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August 18, 2016
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No. 16-10521, Walker v. City of Calhoun, GA

               CERTIFICATE OF INTERESTED PERSONS
              AND CORPORATE DISCLOSURE STATEMENT

      Pursuant to 11th Cir. R. 26.1, the American Bar Association hereby certifies

that no publicly held corporation owns 10% or more of any of the American Bar

Association’s stock. The American Bar Association also certifies that the

following is a complete list of the trial judge and all attorneys, persons,

associations of persons, firms, partnerships, or corporations that have an interest in

the outcome of this particular case on appeal.

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      American Bar Association, Amicus

      American Contractors Indemnity Corporation, Contributed Amicus Funding

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      Equal Justice Under Law


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                        INTEREST OF AMICUS CURIAE
        The American Bar Association (ABA) is one of the largest voluntary

professional membership organizations and the leading organization of legal

professionals in the United States.1 Its more than 400,000 members come from all

fifty States, the District of Columbia, and the United States territories, and include

prosecutors, public defenders, and private defense counsel. Its membership

includes attorneys in law firms, corporations, nonprofit organizations, and local,

state, and federal governments. Members also include judges, legislators, law

professors, law students, and non-lawyer associates in related fields.2

        Since its founding in 1878, the ABA has worked to protect the rights secured

by the Constitution, in particular the rights under the Due Process and Equal

Protection Clauses of those accused of crimes. The ABA’s extensive work in

those areas is reflected in the ABA Standards for Criminal Justice (“Criminal

Justice Standards”), a comprehensive set of principles articulating the ABA’s




1
       No counsel for a party authored this brief in whole or part, and no counsel or
party made a monetary contribution to fund the preparation or submission of this
Brief. No person other than the amicus curiae, its members, and its counsel made
any monetary contribution to its preparation and submission.
2
        Neither this brief nor the decision to file it should be interpreted to reflect
the views of any judicial member of the ABA. No member of the Judicial Division
Council participated in the adoption or endorsement of the positions in this brief,
nor was the brief circulated to any member of the Judicial Division Council before
filing.

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recommendations for fair and effective systems of criminal justice.3 Now in their

third edition, the Criminal Justice Standards were developed and revised by the

ABA Criminal Justice Section, working through broadly representative task forces

made up of prosecutors, defense lawyers, judges, academics, and members of the

public, and then approved by the ABA House of Delegates, the ABA’s

policymaking body. Although the Criminal Justice Standards are not intended to

restate constitutional principles, the Supreme Court and other courts have

frequently looked to the Standards for guidance about the appropriate balance

between individual rights and public safety in the field of criminal justice. See,

e.g., Padilla v. Kentucky, 130 S. Ct. 1473, 1482 (2010); Strickland v. Washington,

466 U.S. 668, 688 (1984); Bearden v. Georgia, 461 U.S. 660, 669 n.10 (1983);

United States v. Teague, 953 F.2d 1525, 1533 & n.10 (11th Cir. 1992); Ayala v.

State, 425 S.E.2d 282, 284 (Ga. 1993) (“The standards for determining whether to

grant release prior to trial are based on the 1968 American Bar Association pretrial

release standards.”). The lengthy section in the Criminal Justice Standards on

pretrial release (“Pretrial Release Standards”) reflects exhaustive study by the

ABA about appropriate systems of pretrial release and detention that will secure


3
       The Criminal Justice Standards are available at http://www.americanbar.org/
groups/criminal_justice/standards.html; see also Marcus, The Making of the ABA
Criminal Justice Standards: Forty Years of Excellence, 23 Crim. Just. 10, 14-15
(Winter 2009). Pertinent provisions of the Standards are set forth in an addendum
to this brief.

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the rights of the accused to a fair trial and the effective assistance of counsel,

protect the community, and ensure that persons accused of crimes appear for court

dates. As discussed below, those Standards reflect the ABA’s conclusions that,

although there may be narrow circumstances in which monetary conditions of

release are necessary to ensure a defendant’s appearance, inflexible money-bail

requirements drawn from a preset schedule of offenses, which takes no account of

a defendant’s individual circumstances, should be abolished. Inflexible money-

bail systems discriminate against the indigent, seriously impair the rights of

persons accused of crimes (including and especially their rights to mount an

effective defense to the charges against them), and provide little if any benefit to

the public. Furthermore, financial conditions on pretrial release should not be

imposed unless no less restrictive conditions of release will reasonably ensure the

defendant’s appearance in court, and even when imposed, financial conditions

should preferably be unsecured—i.e., not requiring a payment of cash by the

defendant. Under no circumstance should money bail be used as an opportunity

for revenue collection.

      The ABA submits this brief to assist this Court with its examination of the

inflexible money-bail system under review in this case. Monetary conditions of

release may be appropriate “when no other conditions will ensure appearance.”

Standard 10-1.4(c). But inflexible money-bail systems that rely on preset bail



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schedules—instead of individualized determinations of the appropriate conditions

of release—violate the Due Process and Equal Protection Clauses of the Fourteenth

Amendment. Under our system of justice, the right of any individual to liberty, as

well as the right to mount an effective defense to criminal charges, should not

depend on that person’s ability to pay. The Standards provide a valuable and

workable alternative to these inflexible systems and provide guidance on how

jurisdictions can protect the constitutional rights of the accused while advancing

their legitimate criminal justice interests.




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                            QUESTION PRESENTED
      Whether a bail system that allows pretrial release only if the defendant pays

an amount of money bail that is fixed by reference to a schedule of offenses, rather

than the defendant’s individual circumstances, violates the Equal Protection and

Due Process clauses of the Fourteenth Amendment.

                          SUMMARY OF ARGUMENT
      For decades, the ABA has urged jurisdictions to reduce their reliance on

financial conditions on pretrial release and to eliminate inflexible money-bail

schemes based on preset bail schedules. See Standard 10-1.4; Standard 10-5.3.

When the First Edition of the ABA’s Criminal Justice Standards was adopted in

1968, the ABA emphasized the serious constitutional concerns with inflexible

money-bail systems, which discriminate against the indigent and impair

defendants’ ability to prepare an effective defense. The ABA’s concerns about

overuse of money bail have only deepened over time, and the Third Edition of the

Standards now provides that monetary conditions on pretrial release are

appropriate only once the court considers the defendant’s individual circumstances

and the possibility of alternative conditions of release.

      Decades of research and study have shown that excessive use of money bail

harms defendants with little offsetting benefit to jurisdictions that use such

systems. Inflexible money-bail systems disrupt the lives of indigent defendants,



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lead to worse legal outcomes, and pressure defendants to plead guilty. At the same

time, inflexible money-bail systems, which tie pretrial detention to the defendant’s

ability to pay rather than an objective risk assessment, do not improve appearance

rates or public safety, and leave jurisdictions that use such systems bearing the

costs of overcrowded jails. It is no surprise, therefore, that a wide range of

criminal justice stakeholders and a growing number of States and local

jurisdictions have joined the ABA in rejecting inflexible use of money bail.

      Inflexible money-bail systems like the one at issue in this case violate the

Due Process and Equal Protection Clauses of the Fourteenth Amendment. The

Supreme Court has repeatedly affirmed that individuals may not be incarcerated

solely because of their inability to pay fines, fees, and court costs. That principle is

particularly strong in the context of pretrial detention, given that our criminal

justice system affords the accused a presumption of innocence. Moreover, an

inflexible money-bail system based on a preset bond schedule fails to provide the

individualized determination necessary to comport with due process. Accordingly,

the district court’s order entering a preliminary injunction should be affirmed.




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                                   ARGUMENT

I.      THE ABA CRIMINAL JUSTICE STANDARDS REJECT INFLEXIBLE MONEY-
        BAIL SYSTEMS, WHICH ARE DEFICIENT AS A MATTER OF POLICY AND
        CONSTITUTIONAL LAW

        A.    The ABA Has Long Viewed Inflexible Money-Bail Systems As
              Inherently Discriminatory, Deleterious To The Rights Of The
              Accused, And Unnecessary To Ensure Justice

        The ABA has long been concerned about the deleterious effects of inflexible

money-bail systems, under which an accused person’s right to release depends on

his ability to pay an amount that may bear no relation to his individual

circumstances, the protection of public safety, or the needs of the administration of

justice. The ABA’s examination of money bail was stimulated by Attorney

General Robert F. Kennedy’s address to the ABA House of Delegates in August

1962, in which Attorney General Kennedy, surveying the problems of access to

justice facing the indigent, identified “[t]he problem of bail” as having “received

too little attention,” and stressed that “the indigent defendant who cannot offer

security for his appearance is denied [the] opportunity [to establish his innocence].

He cannot provide for his family and for his defense, and cannot take an active part

to prove his innocence.”4




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       Kennedy, Address, American Bar Association House of Delegates, San
Francisco, California, Aug. 6, 1962, at 5, available at https://www.justice.gov/
sites/default/files/ag/legacy/2011/01/20/08-06-1962%20Pro.pdf.

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        The First Edition of the ABA’s Criminal Justice Standards, adopted by the

House of Delegates in 1968, reflected the ABA’s fundamental judgment that an

accused person’s right to liberty—and right to mount an effective defense to

criminal charges—should not be determined by that person’s financial resources.

Although the ABA did not advocate for the abolition of all monetary conditions on

release, the First Edition of the Standards urged that “[r]eliance on money bail

should be reduced to minimal proportions” and should be “required only in cases

in which no other condition will reasonably ensure the defendant’s appearance.”

American Bar Association Project on Standards for Criminal Justice, Standards

Relating to Pretrial Release—Approved Draft, 1968, § 1.2 (“First Edition”); see

also id. §5.3(a) (“Money bail should be set only when it is found that no other

conditions on release will reasonably assure the defendant’s appearance.”).

        Commentary accompanying the First Edition of the Standards recognized

the grave constitutional and policy concerns with overuse of money bail.5 The

commentary explained that bail “inevitably discriminates against the poor,” noting

studies showing that a significant percentage of defendants could not make a bail


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        Unlike the Standards themselves, which set forth black-letter principles
adopted by the ABA House of Delegates, commentary accompanying the
Standards is not adopted by the House of Delegates. The commentary
accompanying the Standards therefore “does not necessarily represent the official
position of the ABA,” but it nonetheless “serves a useful explanation of the black-
letter standards.” See ABA Standards for Criminal Justice: Pretrial Release at ii
(3d ed. 2007).

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of $500. See First Edition at 1. The commentary also emphasized that pretrial

detention can prevent a defendant “from contributing to the preparation of his

defense,” leading to worse outcomes for the very defendants least able to afford

effective counsel. Id. at 3. More generally, the commentary recognized the human

toll of unnecessary pretrial detention, which subjects a defendant “to the

psychological and physical deprivations of jail life,” risks him “los[ing] his job if

he has one,” and shoulders the “innocent members of his family” with the burdens

of his detention. Id. at 2-3; see also id. at 23 (“[U]nnecessary pretrial detention

involves unconscionable costs both to individual defendants and their families and

to the public which must pay the financial price of detention.”).

      The First Edition of the Standards also expressed the ABA’s judgment that

money bail should rarely be necessary to serve legitimate interests of the criminal

justice system: protecting the public and ensuring the defendant’s appearance in

court. For defendants who have secure ties to the community, non-monetary

conditions of release should usually be sufficient to ensure their court appearance;

for those who are inclined to flee anyway, money bail is unlikely to deter them

from doing so. Thus, jurisdictions should look to the defendant’s community ties,

rather than arbitrary monetary amounts, as the best security for the defendant’s

appearance in court: “[I]f a quick but careful inquiry is made into the facts

concerning the defendant’s roots in the community a vastly more rational bail



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decision can be made,” and “risk of financial loss is an insubstantial deterrent to

flight for a large number of defendants whose ties to the community are sufficient

to bring them to court.” First Edition at 2.

      The Second Edition of the ABA’s Pretrial Release Standards, adopted by the

ABA House of Delegates in 1979 after a decade of further study, continued and

sharpened the ABA’s criticism of excessive use of money bail. See ABA

Standards for Criminal Justice, ch. 10, Pretrial Release (2d ed. 1979) (“Second

Edition”). The Second Edition again stressed that “[r]elease on monetary

conditions should be reduced to minimal proportions” and that money bail “should

be required only in cases in which no other conditions will reasonably ensure the

defendant’s appearance.” Id. at Standard 10-1.3(c). The Second Edition also

recommended that “[w]hen monetary conditions are imposed, bail should be set at

the lowest level necessary to ensure the defendant’s reappearance and with regard

for the defendant’s ability to post bond.” Id. As the accompanying historical

background explains, this additional emphasis against excessive use of money bail

made explicit a point that was previously implicit—“that a monetary condition

ought not to be imposed except in amounts necessary to achieve its legitimate

purpose.” Id. at 10.14.

      This continued insistence on a limited role for monetary conditions of

release reflected the ABA’s serious concerns about the constitutionality of



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inflexible money-bail schemes, which result in incarceration of individuals for the

sole reason that they cannot pay for their freedom. See Second Edition at 10.78-

10.79 (citing, inter alia, Griffin v. Illinois, 351 U.S. 12 (1956), and Tate v. Short,

401 U.S. 395 (1971)). As the commentary to the Second Edition stressed, although

money-bail systems are common, “[i]n practice … monetary conditions rarely

serve their legitimate function,” and “[a]lthough release on monetary condition is

the oldest form of pretrial release, it is also the least desirable.” Id. at 10.78.

      In addition, the Second Edition of the Standards articulated ABA policy on a

point directly relevant here: If it is necessary to impose a monetary condition on a

defendant’s pretrial release, then that monetary condition should preferably be in

the form of an unsecured bond, rather than a secured bond or an unsecured bond

accompanied by a partial cash payment. See id. at Standard 10-5.4(d). In other

words, only in very rare circumstances should a defendant be required to pay any

sum of money to the court before he is released. Rather, it should ordinarily be

sufficient to require the defendant to agree to pay a sum of money if he fails to

appear as required.

      B.     Given The Grave Concerns Raised By Overuse Of Money Bail,
             The ABA’s Criminal Justice Standards Caution Against Its Use
             Without Consideration Of The Defendant’s Individual
             Circumstances

      The ABA comprehensively reviewed pretrial release practices, including the

use of monetary conditions for release, in the Third Edition of its Criminal Justice


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Standards, adopted by the ABA House of Delegates in 2007 and currently in force.

See ABA Standards for Criminal Justice, Pretrial Release (3d ed. 2007). As those

Standards explain, two decades’ worth of additional study and experience have

confirmed the ABA’s conclusions that an inflexible money-bail system serves no

legitimate public safety purpose, needlessly harms persons accused of crimes, and

imposes unnecessary costs on the public. Monetary conditions of release should

never be drawn from an inflexible schedule, should be imposed only after

consideration of the defendant’s individual circumstances, and should never

prevent the defendant’s release solely because the defendant is unable to pay.

      Standard 10-1.4 expresses the ABA’s conclusion that money bail should

rarely be used to secure a defendant’s appearance in court, and that when monetary

conditions of release are necessary, an unsecured bond should be preferred to a

secured bond. As the Standards explain, jurisdictions should “adopt procedures

designed to promote the release of defendants on their own recognizance or, when

necessary, unsecured bond.” Standard 10-1.4(a). Jurisdictions should impose

financial conditions only “when no other conditions will ensure appearance,” and

should always “consider releasing the defendant on an unsecured bond.” Standard

10-1.4(c). Furthermore, the Standards underscore that monetary conditions should

be used only to ensure appearance—they “should not be employed to respond to

concerns for public safety.” Standard 10-1.4(d). The Standards also stress,



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without qualification, that a bail system should not make it impossible for accused

persons to gain release solely because of their indigence: “The judicial officer

should not impose a financial condition of release that results in the pretrial

detention of a defendant solely due to the defendant’s inability to pay.” Standard

10-1.4(e).

      In particular, the Standards recognize the problems with rigid bail schedules,

in which the amount of bail is fixed in advance by the nature or name of the

charge. The Standards provide that financial conditions “should never be set by

reference to a predetermined schedule of amounts fixed according to the nature of

the charge.” Standard 10-5.3(e) (emphasis added). Instead, consistent with the

demands of due process, the Standards urge that “[f]inancial conditions should be

the result of an individualized decision taking into account the special

circumstances of each defendant, the defendant’s ability to meet the financial

conditions and the defendant’s flight risk.” Id. (emphasis added). Furthermore,

because of the burden financial conditions may impose on the indigent, the

Standards call on jurisdictions to consider conditions of release other than a

secured bond in conducting these individualized determinations. Standard 10-

5.3(a) (“Financial conditions other than unsecured bond should be imposed only

when no other less restrictive condition of release will reasonably ensure the

defendant’s appearance in court.”); see also Standard 10-5.3(d) (providing that a



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judicial officer imposing financial conditions should first consider an unsecured

bond).

      The commentary accompanying the Third Edition of the Standards

emphasizes a range of serious concerns about excessive use of financial conditions

and lack of individualized determinations, not only for the defendant accused of a

crime but also for the public. Unwarranted pretrial detention infringes on

defendants’ constitutional rights, “making it difficult for the defendant to consult

with counsel, locate witnesses, and gather evidence” and placing a particularly

heavy burden “on poor defendants and on racial and cultural minorities.”

Standards at 32-33. “Pretrial detention also strains the defendant’s family relations

and is likely to result in loss of employment.” Id. at 33. And jurisdictions must

bear the costs of the detention, expending “scarce public resources for construction

and operation of new jail facilities.” Id.

      For these reasons, jurisdictions should follow the “least restrictive conditions

principle” in ordering pretrial release and should never set bail so high that a

person cannot meet it because he lacks the means to do so: “If the court finds that

unsecured bond is not sufficient, it may require the defendant to post bail;

however, the bail amount must be within the reach of the defendant and should not

be at an amount greater than necessary to assure the defendant’s appearance in

court.” Id. at 43-44 (emphasis added).



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      Commentary to the Standards elaborates on reasons why jurisdictions should

never follow a preset bail schedule. Most fundamentally, the nature or name of the

charge against the defendant may have little to do with the need for particular

conditions on release. To the contrary, to ensure the defendant’s appearance in

court and to protect public safety, it is far more sensible to consider the particular

circumstances of the case, including the defendant’s risk of flight and (if monetary

conditions are necessary) the defendant’s financial situation. See Standards at 50-

51 (commentary to Standard 10-1.7); id. at 111 (commentary to Standard 10-

5.3(a)). Moreover, inflexible money-bail standards inevitably discriminate against

indigent defendants who cannot make bail in even small amounts. As the

commentary explains, a money-bail system that does not consider the defendant’s

individual circumstances, including his ability to pay, “undermin[es] basic

concepts of equal justice”: “‘In a system which grants pretrial liberty for money,

those who can afford a bondsman go free; those who cannot stay in jail.’” Id. at

111-112 (quoting Freed & Wald, Bail in the United States 21 (1964)).

II.   AN INFLEXIBLE MONEY-BAIL SYSTEM HARMS INDIGENT CRIMINAL
      DEFENDANTS AND DOES NOT SERVE THE FAIR AND PROPER
      ADMINISTRATION OF JUSTICE

      A.     Money Bail Burdens Indigent Criminal Defendants

      Extensive research has shown that overuse of money bail adversely affects

indigent defendants in serious ways, undermining the fairness, effectiveness, and



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credibility of our criminal justice system. In addition to depriving persons of their

liberty because of their financial situation, money bail often impairs their ability to

mount a defense to the charges against them and wreaks havoc with their lives.

      First, even a few days in jail can disrupt a defendant’s life, leading to long-

term negative consequences. Indigent defendants cannot work or earn income

while detained and may lose their jobs while waiting for a hearing, making it even

more difficult to make bail. See Barker v. Wingo, 407 U.S. 514, 532-333 (1972).

Children may be left unsupervised, and elderly or sick relatives may have no one

else to take care of them. Defendants living in shelters may lose housing for

missing curfews or for prolonged absence. See Pinto, The Bail Trap, N.Y. Times

Magazine (Aug. 13, 2015). Given indigent defendants’ already diminished level of

economic security and often shaky social safety nets, a prolonged pretrial detention

may trigger a downward spiral, even if they are ultimately acquitted.

      Yet for many indigent defendants, there is no option other than to wait in

jail. Defendants and their families are frequently unable to afford a fixed monetary

bond or a nonrefundable 10 or 20% commercial surety fee. Indeed, in many cases

a commercial surety is not even an option; many bail bondsmen will not even offer

small bonds—meaning that, ironically, indigent defendants who are charged with

the least serious offenses may be more likely to stay in jail. See Montopoli, Is the

U.S. Bail System Unfair?, CBS News, Feb. 8, 2013. Data show that many



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defendants are unable to meet even relatively small bond amounts; in New York

City, for example, only 26% of criminal defendants made bail set at less than $500

at arraignment, and only 7% made bail set at $5,000 (the median amount for a

felony). Phillips, A Decade of Bail Research in New York City 51 tbl. 7 (New

York Criminal Justice Agency, Inc., Aug. 2012). Even for those defendants who

are ultimately able to secure the necessary resources, the process of doing so may

take days, leading to many of the same adverse consequences.6

        Second, pretrial detention frustrates the legal rights of indigent defendants.

While detained, defendants find it difficult to communicate with or engage

counsel—especially in jurisdictions that do not appoint counsel immediately after a

defendant is taken into custody. See Leipold, How the Pretrial Process

Contributes to Wrongful Convictions, 42 Am. Crim. L. Rev. 1123, 1130 (2005).

Detention also impairs defendants’ ability to prepare a defense; by the time of

release, evidence may have already been lost and witnesses’ memories faded.




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       In rural areas, long distances and limited staff further increase the likelihood
of prolonged detention before a defendant’s first appearance before a judicial
officer. It is therefore particularly important to find alternatives to inflexible
money-bail systems in those jurisdictions. See Vetter & Clark, The Delivery of
Pretrial Justice in Rural Areas: A Guide for Rural County Officials (National
Association of Counties, 2012). The ABA’s Criminal Justice Standards state that
“the defendant should in no instance be held by police longer than 24 hours
without appearing before a judicial officer,” Standard 10-4.1, but in many areas of
the country, suspects are held for much longer times.

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      For more than fifty years, researchers have found that pretrial detention

leads to worse case outcomes for indigent defendants. See Rankin, The Effect of

Pretrial Detention, 39 N.Y.U. L. Rev. 641 (1964). Even when controlling for

factors such as current charge, prior criminal history, and community ties, research

has shown that defendants detained in jail are more likely to be convicted, more

likely to be sentenced to a prison term, more likely to receive a longer sentence,

and more likely to commit a future crime than defendants released during the

pretrial period. See Gupta et al., The Heavy Costs of High Bail: Evidence from

Judge Randomization 2-3, Columbia Law and Economics Working Paper No. 531

(2016); Rational and Transparent Bail Decision Making: Moving From a Cash-

Based to a Risk-Based Process 2 (Pretrial Justice Inst., MacArthur Found. 2012);

Phillips, Pretrial Detention and Case Outcomes, Part 1: Nonfelony Cases 55-56

(New York City Criminal Justice Agency, Inc., 2007). These consequences are

particularly perverse because they may weigh heaviest on the lowest-risk

defendants; one study found that low-risk defendants detained for the entire pretrial

period are more than five times more likely to be sentenced to jail compared to

low-risk defendants released at some point before trial, and nearly four times more

likely to be sentenced to prison—with sentences that, on average, are nearly three

times longer. See Lowenkamp et al., Investigation the Impact of Pretrial Detention

on Sentencing Outcomes 11 (Arnold Found., Nov. 2013).



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      Third, the prospect of prolonged pretrial detention may encourage premature

guilty pleas from defendants who are innocent or have potential defenses to the

charges. In many cases, the anticipated time of pretrial detention may exceed the

length of an actual sentence; for some minor crimes, defendants may not face

incarceration at all. See Bibas, Plea Bargaining Outside the Shadow of Trial, 117

Harv. L. Rev. 2464, 2492 (2004) (noting that defendants charged with

misdemeanors or lesser felonies are more likely to be incarcerated before than after

conviction). When given the choice between immediate release and trial after

prolonged detention, many defendants reasonably decide to plead guilty. See

Boruchowitz et al., Minor Crimes, Massive Waste 32-33 (National Ass’n of

Criminal Defense Lawyers, Apr. 2009). That prospect is directly contrary to the

purpose of financial conditions on release, which is solely to ensure the

defendant’s appearance. See Standards at 44 (commentary to Standard 10-1.4(d))

(“Money bail should not be used for any reason other than to respond to a risk of

flight.”); cf. id. at 112 (commentary to Standard 10-5.3(c)) (“Threats of

unaffordable bail in order to compel defendants to cooperate with the government

are … inappropriate.”).

      B.     An Inflexible Money-Bail System Does Not Advance The Interests
             Of Pretrial Justice

      For all of its costs to indigent defendants, money bail—particularly when

imposed without regard to a defendant’s individual circumstances—often fails to


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advance the primary interests of a pretrial release system: ensuring that released

defendants appear for their court dates, and keeping high-risk defendants in

detention. See Standard 10.1-1. Instead of basing pretrial detention status on

individualized risk factors, money-bail systems often end up linking pretrial

detention status primarily to the defendant’s ability to pay, which benefits neither

indigent defendants nor public safety. See Cohen & Reaves, Pretrial Release of

Felony Defendants in State Court 3 fig. 3 (Bureau of Justice Statistics, Nov. 2007)

(showing direct relationship between the bail amount and likelihood of detention).

        The available evidence indicates that money bail is rarely necessary to

ensure court appearances. The District of Columbia does not use money bail, and

yet it maintains appearance rates for released defendants of 90%—as compared to

a national average of less than 80%.7 Indeed, one recent study found that

defendants whose releases were conditioned on unsecured bonds appeared for their

court dates at slightly higher rates than those posting secured bonds, with the

exception of the highest-risk category of defendants. See Jones, Unsecured Bonds:

The As Effective and Most Efficient Pretrial Release Option 11 (Pretrial Justice




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       Compare Pretrial Services Agency for the District of Columbia,
Performance Measures, http://www.psa.gov/?q=data/performance_measures (data
as of June 30, 2015) with Cohen & Reaves, Pretrial Release of Felony Defendants
in State Court 8 fig. 5 (Bureau of Justice Statistics, Nov. 2007).


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Institute 2013).8 By contrast, research has shown significant increases in

appearance rates from alternative approaches, such as supervised release or simply

giving notice before a court date. See Lowenkamp & VanNostrand, Exploring the

Impact of Supervision on Pretrial Outcomes 17 (Arnold Found., 2013); Herian &

Bornstein, Reducing Failure to Appear in Nebraska: A Field Study, Nebraska

Lawyer 11, 12-13 (Sept. 2010).

        At the same time, excessive use of money bail imposes heavy costs on the

criminal justice system. Approximately 61% of inmates in local jails—more than

400,000 individuals—are awaiting trial at any given time. See Minton & Golinelli,

Jail Inmates at Midyear 2012 - Statistical Tables 5-6 tbls. 2-3 (Bureau of Justice

Statistics, May 2013). At an average daily cost per inmate from $50 to as high as

$500, the total annual cost of pretrial detention is estimated to be $9 billion, or

11% of total spending on corrections. See Council of Economic Advisers, Issue

Brief, Fines, Fees, and Bail 8 (Dec. 2015). This immense cost to States and local

jurisdictions yields little in the way of public safety, and yet it also represents a

grave deprivation of liberty for thousands of indigent defendants.




8
      See also Abell Foundation, The Pretrial Release Project: A Study of
Maryland’s Pretrial Release and Bail System 48 (2011) (citing studies finding
higher or similar appearance rates for defendants released on non-financial bail
compared to financial bail), available at http://www.abell.org/sites/default/files/
publications/hhs_pretrial_9.01(1).pdf.

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        C.    A Consensus Has Developed That Inflexible Money-Bail Systems
              Are Unfair And Do Not Work

        The ABA is not alone in its opposition to inflexible money-bail systems.

Numerous organizations across the spectrum of the criminal justice system have

also emphasized the importance of conducting individualized assessments in

setting conditions for pretrial release and minimizing the use of money bail.9 In


9
       Nat’l Ass’n of Counties, The American County Platform and Resolutions
20165-2017, at 104 (“NACo also recommends that states and localities make
greater use of such non-financial pretrial release options, such as citation release
and release on recognizance, where there is a reasonable expectation that public
safety will not be threatened..”); Conference of Chief Justices, Resolution 3, at 2
(adopted Jan. 30, 2013) (“[T]he Conference of Chief Justices commends and
endorses the Policy Paper on Evidence-Based Pretrial Release and joins with
Conference of State Court Administrators to urge that court leaders promote,
collaborate, and accomplish the adoption of evidence-based assessment of risk in
setting pretrial release conditions and advocate for the presumptive use of non-
financial release conditions[.]”); Ass’n of Prosecuting Attys, Policy Statement on
Pretrial Justice (“Pretrial services employing validated risk assessments provide
useful data and offer practical information essential to making informed decisions
during court proceedings and determining conditions of supervision and
sentencing, when appropriate.”); Am. Jail Ass’n, Resolutions of the American Jail
Association 36 (2014) (“[P]retrial supervision can be a safe and cost effective
alternative to jail for those awaiting trial[.]”); Int’l Ass’n of Chiefs of Police,
Pretrial Release and Detention Process (adopted Oct. 21, 2014) (“[T]he pretrial
release and detention process currently utilized throughout most of the United
States relies on limited information and the use of a bail schedule, without
considering empirically developed information regarding individual risks posed by
defendants[.]”); Am. Council of Chief Defenders, Policy Statement on Fair and
Effective Pretrial Justice Practices 1 (June 4, 2011) (“Several national
organizations have developed national standards on pretrial practices, and these
provide excellent guidelines for defenders in developing strategies to improve
pretrial outcomes. Defenders should become familiar with these standards and
strive to implement them in daily practice.”); Nat’l Ass’n of Criminal Defense
Lawyers, Policy on Pretrial Release and Limited Use of Financial Bond 1

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2011, the U.S. Department of Justice Office of Justice Programs convened a

National Symposium on Pretrial Justice; key recommendations from the

symposium included “[e]liminating the use of automatic, predetermined money

bail” and the use of pretrial service programs to “[a]ssess each defendant’s level of

risk.” National Symposium on Pretrial Justice, Summary Report of Proceedings 39

(2011). As recently as March 14, 2016, the Department of Justice reminded courts

that they “must not employ bail or bond practices that cause indigent defendants to

remain incarcerated solely because they cannot afford to pay for their release.”

Dear Colleague Letter from Gupta, Principal Dep. Ass’t Att’y Gen., Civil Rights

Division and Foster, Director, Office for Access to Justice 2 (Mar. 14, 2016); see

also Brown, ABA President, Letter to Editor, The Justice Department Makes the

Right Call, Wash. Post, Mar. 18, 2016. There is no serious dispute among criminal

justice stakeholders that inflexible money-bail schemes have no place in the

American justice system.


(“Consistent with the current ABA Standards on Pretrial Release, these guidelines
permit the denial of bail only when the judicial officer finds clear and convincing
evidence the accused represents a significant risk of flight or imminent physical
harm to others.”); Nat’l Sheriffs Ass’n, Resolution 2012-6, National Sheriffs’
Association Supports & Recognizes The Contribution Of Pretrial Services
Agencies To Enhance Public Safety (2012) (“[A] justice system relying heavily on
financial conditions of release at the pretrial stage is inconsistent with a fair and
efficient justice system.”); Am. Probation and Parole Ass’n, Resolution – Pretrial
Supervision (enacted June 2010) (“[P]retrial supervision has proven a safe and cost
effective alternative to jail for many individuals awaiting trial[.]”); see also Nat’l
Ass’n of Pretrial Services Agencies, Standards on Pretrial Release (3d ed. 2004).


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       States and local jurisdictions have followed suit. Currently, 21 States

expressly provide for a presumption in favor of releasing defendants on personal

recognizance or an unsecured bond, and 16 require courts to impose the least

restrictive condition on pretrial release. See Widgery, National Conference of State

Legislators, Guidance for Setting Release Conditions (May 13, 2015); cf. Standard

10.1-6 (recognizing “policy favoring release”); cf. Standard 10.1-2 (“In deciding

pretrial release, the judicial officer should assign the least restrictive condition(s) of

release.”). State court systems are also increasingly using fact-sensitive risk-

assessment tools, rather than inflexible bail schedules, to evaluate appropriate

conditions on a defendant’s pretrial release. See Arnold Found., Press Release,

More Than 20 Cities and States Adopt Risk Assessment Tool To Help Judges Decide

Which Defendants To Detain Prior to Trial (June 26, 2015); cf. Standard 10-1.10

(“Every jurisdiction should establish a pretrial services agency or program to collect

and present the necessary information, [and] present risk assessments[.]”). Local

jurisdictions have explored the use of these tools for years, and 15 States have now

authorized their use by statute, with six States—Delaware, Colorado, Kentucky,

New Jersey, South Carolina, and West Virginia—requiring such assessments for all

defendants. Evaluations of these policies have further strengthened the conclusions

that pretrial release determinations should take the defendant’s individual

circumstances into account, and that monetary conditions of release should play a



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limited role. See Schnacke et al., The Jefferson County Bail Project: Lessons

Learned from a Process of Pretrial Change at the Local Level 12 (Pretrial Justice

Institute, June 2014); Klute & Heyerly, Report on Impact of House Bill 463:

Outcomes, Challenges, and Recommendations 5-6 (KY Pretrial Servs., June 2012).

       In sum, evidence and experience show that an inflexible money-bail system

has no place in a modern system of criminal justice. In the few circumstances

where a financial condition of release is necessary to ensure a defendant’s

appearance at trial, a court can impose one, provided that it is tailored so that a

defendant is not held in jail merely because he cannot afford to pay the bond. But

in the great majority of cases, money bail—and certainly a money-bail system in

which the amount of the bail is mechanically set by reference to a schedule of

charges, with no consideration of the defendant’s ties to the community or

financial circumstances—should be unnecessary, and will only hobble the accused

person’s ability to muster a defense to the charges against him while imposing a

grave human toll.

III.   THE COUNTY’S INFLEXIBLE BAIL SCHEME ILLUSTRATES THE
       CONSTITUTIONAL PROBLEMS WITH MONEY BAIL

       The ABA’s Criminal Justice Standards are founded on the basic

constitutional premise that an individual should not be incarcerated solely based on

his inability to pay. Faithful application of the Standards—including

individualized risk assessments, the imposition of only the least restrictive


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conditions, and a general presumption in favor of pretrial release—should ensure

that defendants’ constitutional rights will be protected. Here, however, the

County’s pretrial release system falls far short of ABA guidelines, and has resulted

in violations of both the Equal Protection and Due Process Clauses.

      In Bearden v. Georgia, 461 U.S. 660 (1983), the Supreme Court made clear

that depriving an individual of “conditional freedom simply because, through no

fault of his own, he cannot pay … would be contrary to the fundamental fairness

required by the Fourteenth Amendment.” Id. at 672-673. Consistent with that

principle, the Court has rejected government policies and practices in a wide range

of contexts that have the effect of “punishing a person for his poverty.” Id. at 671

(revocation of probation for inability to pay fine); see, e.g., Tate v. Short, 401 U.S.

395, 398 (1971) (incarceration for inability to pay traffic fines); Williams v.

Illinois, 399 U.S. 235, 240-241 (1970) (incarceration beyond statutory maximum

due to inability to pay fine); Smith v. Bennett, 365 U.S. 708, 711 (1961) (inability

to pay fee to file petition for writ of habeas corpus); Griffin v. Illinois, 351 U.S. 12,

19 (1956) (inability to cover cost of transcript on appeal).

      A defendant’s constitutional interests are particularly strong in the pretrial

detention context. While awaiting trial, a criminal defendant has not been found

guilty of any crime and must be afforded a presumption of innocence. Stack v.

Boyle, 342 U.S. 1, 4 (1951) (“Unless this right to bail before trial is preserved, the



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presumption of innocence, secured only after centuries of struggle, would lose its

meaning.”). Accordingly, before overriding a defendant’s “strong interest in

liberty,” jurisdictions must recognize the “importance and fundamental nature” of

the right to pretrial release and must carefully consider whether the government has

advanced “sufficiently weighty” interests to the contrary. United States v. Salerno,

481 U.S. 739, 750-751 (1987). Inflexible money-bail systems that rely on preset

bail schedules, like the one the City of Calhoun uses, do not meet that standard. As

the Fifth Circuit explained in Pugh v. Rainwater, 572 F.2d 1053 (5th Cir. 1978) (en

banc), when the appearance of an indigent defendant can be assured by an alternate

form of release, “pretrial confinement for inability to post money bail would

constitute imposition of an excessive restraint.” Id. at 1058. Following the Fifth

Circuit’s reasoning, even if money bail might be constitutionally acceptable in

certain circumstances, it can never be the only option available to indigent

defendants.

      In addition to treating defendants differently and arbitrarily depending on their

financial status, inflexible money-bail systems violate the fundamental constitutional

requirement that individuals must generally be given notice and an opportunity to be

heard before being deprived of their liberty or property. Fuentes v. Shevin, 407 U.S.

67, 80 (1972). When ability to pay is at issue, the defendant must be given notice

that ability to pay may be a “critical question” in the proceedings, and given an



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opportunity to provide information about his financial status. Turner v. Rogers, 564

U.S. 431, 446-448 (2011). Then, the court must actually take that information into

account and make an “express finding … that the defendant has the ability to pay.”

Id. at 447-448. In the context of pretrial release, therefore, if a jurisdiction considers

imposing a monetary condition of release, it must take account of the defendant’s

individual ability to pay, the availability of less restrictive alternatives, and the need

for pretrial detention in the first place. Inflexible money-bail systems do not satisfy

this due process requirement; the preset bail schedule is outcome-determinative. As

indigent defendants are given no opportunity to challenge these schedules, they are

unconstitutional.

                                    CONCLUSION
       The order of the district court entering a preliminary injunction should be

affirmed.



                                                   Respectfully submitted.


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August 18, 2016



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                        CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. App. P. 32(a)(7)(C), the undersigned hereby certifies

that this brief complies with the type-volume limitation of Fed. R. App. P.

32(a)(7)(B).

      1.       This brief complies with the type-volume limitations of Fed. R. App.

P. 29(d) because this brief contains 6,551 words, excluding the parts of the brief

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                                                /s/ Paulette Brown
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  ABA STANDARDS FOR CRIMINAL JUSTICE: PRETRIAL RELEASE
                       (EXCERPTS)

Standard 10-1.1       Purposes of the pretrial release decision

       The purposes of the pretrial release decision include providing due process
to those accused of crime, maintaining the integrity of the judicial process by
securing defendants for trial, and protecting victims, witnesses and the community
from threat, danger or interference. The judge or judicial officer decides whether
to release a defendant on personal recognizance or unsecured appearance bond,
release a defendant on a condition or combination of conditions, temporarily detain
a defendant, or detain a defendant according to procedures outlined in these
Standards. The law favors the release of defendants pending adjudication of
charges. Deprivation of liberty pending trial is harsh and oppressive, subjects
defendants to economic and psychological hardship, interferes with their ability to
defend themselves, and, in many instances, deprives their families of support.
These Standards limit the circumstances under which pretrial detention may be
authorized and provide procedural safeguards to govern pretrial detention
proceedings.

Standard 10-1.2.      Release under least restrictive conditions; diversion and
                      other alternative release options

       In deciding pretrial release, the judicial officer should assign the least
restrictive condition(s) of release that will reasonably ensure a defendant’s
attendance at court proceedings and protect the community, victims, witnesses or
any other person. Such conditions may include participation in drug treatment,
diversion programs or other pre-adjudication alternatives. The court should have a
wide array of programs or options available to promote pretrial release on
conditions that ensure appearance and protect the safety of the community, victims
and witnesses pending trial and should have the capacity to develop release options
appropriate to the risks and special needs posed by defendants, if released to the
community. When no conditions of release are sufficient to accomplish the aims
of pretrial release, defendants may be detained through specific procedures.

Standard 10-1.4.      Conditions of release

      (a) Consistent with these Standards, each jurisdiction should adopt
procedures designed to promote the release of defendants on their own


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recognizance or, when necessary, unsecured bond. Additional conditions should
be imposed on release only when the need is demonstrated by the facts of the
individual case reasonably to ensure appearance at court proceedings, to protect the
community, victims, witnesses or any other person and to maintain the integrity of
the judicial process. Whenever possible, methods for providing the appropriate
judicial officer with reliable information relevant to the release decision should be
developed, preferably through a pretrial services agency or function, as described
in Standard 10-1.9.

       (b) When release on personal recognizance is not appropriate reasonably to
ensure the defendant’s appearance at court and to prevent the commission of
criminal offenses that threaten the safety of the community or any person,
constitutionally permissible non-financial conditions of release should be
employed consistent with Standard 10-5.2.

       (c) Release on financial conditions should be used only when no other
conditions will ensure appearance. When financial conditions are imposed, the
court should first consider releasing the defendant on an unsecured bond. If
unsecured bond is not deemed a sufficient condition of release, and the court still
seeks to impose monetary conditions, bail should be set at the lowest level
necessary to ensure the defendant’s appearance and with regard to a defendant’s
financial ability to post bond.

      (d) Financial conditions should not be employed to respond to concerns for
public safety.

       (e) The judicial officer should not impose a financial condition of release
that results in the pretrial detention of a defendant solely due to the defendant’s
inability to pay.

       (f) Consistent with the processes provided in these Standards, compensated
sureties should be abolished. When financial bail is imposed, the defendant should
be released on the deposit of cash or securities with the court of not more than ten
percent of the amount of the bail, to be returned at the conclusion of the case.

Standard 10-1.7.       Consideration of the nature of the charge in determining
                       release options

      Although the charge itself may be a predicate to pretrial detention
proceedings, the judicial officer should exercise care not to give inordinate weight


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to the nature of the present charge in evaluating factors for the pretrial release
decision except when, coupled with other specified factors, the charge itself may
cause the initiation of a pretrial detention hearing pursuant to the provisions of
Standard 10-5.9.

Standard 10-5.3.       Release on financial conditions

       (a) Financial conditions other than unsecured bond should be imposed only
when no other less restrictive condition of release will reasonably ensure the
defendant's appearance in court. The judicial officer should not impose a financial
condition that results in the pretrial detention of the defendant solely due to an
inability to pay.

      (b) Financial conditions of release should not be set to prevent future
criminal conduct during the pretrial period or to protect the safety of the
community or any person.

       (c) Financial conditions should not be set to punish or frighten the defendant
or to placate public opinion.

       (d) On finding that a financial condition of release should be set, the judicial
officer should require the first of the following alternatives thought sufficient to
provide reasonable assurance of the defendant's reappearance:

             (i) the execution of an unsecured bond in an amount specified by the
      judicial officer, either signed by other persons or not;

             (ii) the execution of an unsecured bond in an amount specified by the
      judicial officer, accompanied by the deposit of cash or securities equal to ten
      percent of the face amount of the bond. The full deposit should be returned
      at the conclusion of the proceedings, provided the defendant has not
      defaulted in the performance of the conditions of the bond; or

             (iii) the execution of a bond secured by the deposit of the full amount
      in cash or other property or by the obligation of qualified, uncompensated
      sureties.

       (e) Financial conditions should be the result of an individualized decision
taking into account the special circumstances of each defendant, the defendant's
ability to meet the financial conditions and the defendant's flight risk, and should


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never be set by reference to a predetermined schedule of amounts fixed according
to the nature of the charge.

       (f) Financial conditions should be distinguished from the practice of
allowing a defendant charged with a traffic or other minor offense to post a sum of
money to be forfeited in lieu of any court appearance. This is in the nature of a
stipulated fine and, where permitted, may be employed according to a
predetermined schedule.

      (g) In appropriate circumstances when the judicial officer is satisfied that
such an arrangement will ensure the appearance of the defendant, third parties
should be permitted to fulfill these financial conditions[.]




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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 18th day of August, 2016, I electronically filed

the foregoing with the Clerk of the Court for the United States Court of Appeals

for the Eleventh Circuit using the appellate CM/ECF system. Counsel for all

parties to the case are registered CM/ECF users and will be served by the appellate

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                                               /s/ Paulette Brown
                                               PAULETTE BROWN
